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                 EXHIBIT D
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      ‫רשות ערעור אזרחי ‪8195 / 02‬‬
                                                                             ‫אלעד שיטרית‬            ‫א‬
                                                                                      ‫נגד‬
                                                                       ‫‪Sharp Corporation‬‬


                                      ‫בבית‪-‬המשפט העליון‬                                             ‫ב‬
                                           ‫]‪[24.8.2003‬‬
                                     ‫לפני השופט א ' ריבלין‬

      ‫המבקש הגיש נגד המשיבה תביעה בגין נזקי גוף שנגרמו לו כתוצאה מחשיפה לחומרים רעילים‬
                                                                                                    ‫ג‬
      ‫שנפלטו ממכשיר הטלוויזיה שייצרה המשיבה בחוץ‪-‬לארץ ושנרכש בישראל‪ .‬במסגרת התביעה‬
      ‫עתר המבקש למתן היתר המצאה של כתב‪-‬התביעה אל מחוץ לתחום השיפוט‪ ,‬לפי תקנה ‪500‬‬
      ‫לתקנות סדר הדין האזרחי‪ ,‬תשמ"ד‪) 1984-‬להלן – התקנות(‪ .‬רשמת בית‪-‬המשפט המחוזי נענתה‬
      ‫לבקשת המבקש תוך שהתבססה על תקנה ‪ (7)500‬לתקנות‪ ,‬אולם בית‪-‬המשפט המחוזי קיבל את‬
                          ‫ערעורה של המשיבה וביטל את החלטתה‪ .‬מכאן בקשת הרשות לערער‪.‬‬                  ‫ד‬
                                                                 ‫בית‪-‬המשפט העליון פסק‪:‬‬
      ‫)‪ (1‬אין די בקרות הנזק בישראל על‪-‬מנת שתקום עילה למתן היתר המצאה אל מחוץ לתחום‬
      ‫המדינה מכוח תקנה ‪ (7)500‬לתקנות‪ ,‬המתירה המצאה אל מחוץ לתחום מקום שבו‬
               ‫מבוססת התובענה על מעשה או על מחדל שאירעו בתחום המדינה )‪194‬ה‪195 ,‬ג(‪.‬‬                  ‫ה‬
      ‫)‪ (2‬במקרה דנן אין לראות במעשיה או במחדליה של המשיבה בייצור מכשירי הטלוויזיה או‬
      ‫בשיווקם משום מעשה או מחדל שנעשו בישראל‪ ,‬ועל‪-‬כן אין תחולה לתקנה ‪(7)500‬‬
                                                                  ‫לתקנות )‪195‬ד – ה(‪.‬‬

                                                             ‫חקיקת משנה שאוזכרה‪:‬‬                    ‫ו‬
       ‫תקנות סדר הדין האזרחי‪ ,‬תשמ"ד‪ ,1984-‬תקנות ‪.(7)500 ,(5)500 ,(4)500 ,500‬‬   ‫–‬

                                              ‫פסקי‪-‬דין של בית‪-‬המשפט העליון שאוזכרו‪:‬‬
               ‫]‪ [1‬ע"א ‪ 565/77‬מזרחי נ'‪ , .Nobel’s Explosives Co. Ltd‬פ"ד לב)‪.115 (2‬‬
                       ‫]‪ [2‬רע"א ‪ Allison Engine Co. Inc. 516/00‬נ' אלטר )לא פורסם(‪.‬‬                  ‫ז‬
      ‫]‪ [3‬רע"א ‪ .Metallurgique de Gerzat S.A 2752/03‬נ' וילנסקי‪ ,‬פ"ד נז)‪(6‬‬
                                                                          ‫‪.145‬‬




      ‫‪193‬‬                                     ‫פסקי‪-‬דין‪ ,‬כרך נח‪ ,‬חלק ראשון‪ ,‬תשס"ד‪/‬תשס"ה ‪2004‬‬
                ‫המאגר המשפטי הישראלי‬        ‫נבו הוצאה לאור בע"מ ‪nevo.co.il‬‬
      ‫‪C:\Users\jd46126\AppData\Local\Microsoft\Windows\INetCache\Content.Outlook\GX779YBF\Elad‬‬
                                                                                      ‫‪Shitrit.doc‬‬
‫‪Case 3:24-cv-03836-TLT‬‬             ‫‪Document 57-5‬‬              ‫‪Filed 01/10/25‬‬            ‫‪Page 3 of 5‬‬




      ‫שיטרית נ' ‪Sharp Corporation‬‬                                             ‫רע"א ‪8195/02‬‬
      ‫השופט א' ריבלין‬                                                           ‫פ"ד נח)‪193 (1‬‬

      ‫בקשת רשות ערעור על פסק‪-‬דינו של בית‪-‬המשפט המחוזי בתל‪-‬אביב‪-‬יפו )השופטת ה'‬
‫א‬     ‫גרסטל( מיום ‪ 21.8.2002‬בע"א ‪ 1649/02‬שבו נתקבל ערעור על פסק‪-‬דינה של רשמת‬
      ‫בית‪-‬המשפט המחוזי )השופטת י' שיצר( מיום ‪ 10.3.2002‬בת"א ‪) 1346/96‬בש"א‬
                                                       ‫‪ .(13656/01‬הבקשה נדחתה‪.‬‬

                                                         ‫משה קפלנסקי – בשם המבקש;‬
 ‫ב‬                                   ‫חנינא ברנדס‪ ,‬פנינה ברודר‪ ,‬אשר עסיס – בשם המשיבה‪.‬‬

                                           ‫החלטה‬
 ‫ג‬    ‫‪ .1‬זוהי בקשת רשות ערעור על החלטתו של בית‪-‬המשפט המחוזי בתל‪-‬אביב‪-‬יפו‬
      ‫)כבוד השופטת ה' גרסטל(‪ ,‬שקיבל את ערעורה של המשיבה וביטל את החלטתה של‬
      ‫רשמת בית‪-‬המשפט המחוזי להתיר למבקש להמציא כתב‪-‬התביעה כנגד המשיבה אל‬
                                                         ‫מחוץ לגבולות המדינה‪.‬‬

 ‫ד‬    ‫המשיבה – ‪ – Sharp Corporation‬היא חברה זרה שעיסוקה ייצור מכשירי חשמל‬
      ‫ושיווקם )להלן – החברה(‪ .‬המבקש הגיש כנגד המשיבה תובענה בשל נזקי גוף שהוסבו‬
      ‫לו כתוצאה מחשיפה לחומרים רעילים שנפלטו ממכשיר טלוויזיה מתוצרת החברה‪,‬‬
      ‫שרכש בישראל‪ .‬כן עתר למתן היתר המצאה של כתב‪-‬התביעה אל מחוץ לתחום‬
      ‫השיפוט‪ ,‬לפי תקנה ‪ 500‬לתקנות סדר הדין האזרחי‪ ,‬תשמ"ד‪) 1984-‬להלן – התקנות(‪.‬‬
‫ה‬     ‫רשמת בית‪-‬המשפט נעתרה לבקשה‪ .‬כבוד הרשמת סמכה ידה על תקנה ‪,(7)500‬‬
      ‫המתירה המצאה אל מחוץ לתחום המדינה מקום שמבוססת בו התובענה על מעשה או‬
      ‫על מחדל שאירעו בתחום המדינה אף שייצור מכשיר הטלוויזיה נעשה כולו בחוץ‪-‬‬
      ‫לארץ‪ .‬כבוד הרשמת ציינה כי לאור ההתפתחויות באורחות המסחר הבין‪-‬לאומי ראוי‬
 ‫ו‬    ‫ליתן לסדרי הדין פרשנות שתחייב יצרן זר לפצות צרכן מקומי על נזק שנגרם לו עקב‬
      ‫מוצר פגום מתוצרתו‪ .‬הרשמת פסקה כי היה על החברה לנקוט בישראל שורה של‬
      ‫אמצעי זהירות על‪-‬מנת לצמצם את הסכנות הנובעות מן השימוש במכשיר‪ .‬בין היתר‪,‬‬
      ‫הייתה החברה צריכה – כך קבעה הרשמת – לבצע בדיקות איכות בהתאם לתקן‬
      ‫הישראלי; לצרף הוראות שימוש במכשיר; לפרסם אזהרה באמצעי התקשורת ואף‬
 ‫ז‬    ‫לאסוף חזרה את מכשירי הטלוויזיה‪ .‬הימנעותה מלנקוט את הצעדים האלה היא‪ ,‬כך‬
      ‫פסקה הרשמת‪ ,‬מחדל שנעשה בתחומי ישראל המקים עילה למתן היתר המצאה אל‬
                                                             ‫מחוץ לתחום המדינה‪.‬‬




      ‫פסקי‪-‬דין‪ ,‬כרך נח‪ ,‬חלק ראשון‪ ,‬תשס"ד‪/‬תשס"ה ‪2004‬‬                                        ‫‪194‬‬

                ‫המאגר המשפטי הישראלי‬        ‫נבו הוצאה לאור בע"מ ‪nevo.co.il‬‬
      ‫‪C:\Users\jd46126\AppData\Local\Microsoft\Windows\INetCache\Content.Outlook\GX779YBF\Elad‬‬
                                                                                      ‫‪Shitrit.doc‬‬
‫‪Case 3:24-cv-03836-TLT‬‬             ‫‪Document 57-5‬‬              ‫‪Filed 01/10/25‬‬            ‫‪Page 4 of 5‬‬




      ‫שיטרית נ' ‪Sharp Corporation‬‬                                             ‫רע"א ‪8195/02‬‬
      ‫השופט א' ריבלין‬                                                           ‫פ"ד נח)‪193 (1‬‬
      ‫על החלטתה של כבוד הרשמת הגישה החברה ערעור בבית‪-‬המשפט המחוזי‪ .‬בית‪-‬‬
      ‫משפט קמא )כבוד השופטת ה' גרסטל( פסק כי הוראת תקנה ‪ (7)500‬לתקנות אינה‬
      ‫מאפשרת מתן היתר המצאה מקום שבו אך הנזק אירע במדינת ישראל‪ ,‬ואילו המעשה‬                                ‫א‬
      ‫או המחדל שגרמו לנזק אירעו בחוץ‪-‬לארץ‪ .‬בית‪-‬המשפט הוסיף וקבע כי המבקש לא‬
      ‫הניח תשתית מספקת להתרשלות לכאורה של החברה בנוגע לשיווק המוצר בישראל או‬
      ‫למעשה או מחדל אחר מצד החברה‪ .‬כיוון שכך‪ ,‬פסק כי תקנה ‪ (7)500‬אינה חלה‬
      ‫בנסיבות העניין וקיבל את הערעור‪ .‬על החלטה זו משיג המבקש בבקשת רשות הערעור‬
                                                                       ‫שבפניי‪.‬‬                             ‫ב‬

      ‫‪ .2‬לאחר שבחנתי את טענות הצדדים החלטתי כי דין הבקשה להידחות‪ .‬כפי‬
      ‫שקבע בית‪-‬משפט קמא‪ ,‬לא די בקרות נזק בישראל על‪-‬מנת שתקום עילה למתן היתר‬
      ‫המצאה אל מחוץ לתחום המדינה מכוח תקנה ‪ (7)500‬לתקנות‪ .‬פרשנות זו‪ ,‬השוללת את‬
                                                                                                           ‫ג‬
      ‫תחולתה של תקנה ‪ (7)500‬בהיעדר מעשה או מחדל שאירעו בישראל‪ ,‬אומצה על‪-‬ידי‬
      ‫בית‪-‬המשפט העליון בע"א ‪ 565/77‬מזרחי נ' ‪ ,[1] Nobel’s Explosives Co. Ltd.‬ואף‬
      ‫שההלכה זכתה לביקורת‪ ,‬נותרה היא על כנה ולא שונתה לא על‪-‬ידי מחוקק המשנה ולא‬
      ‫על‪-‬ידי בית משפט זה )ראו למשל רע"א ‪ Allison Engine Co. Inc. 516/00‬נ' אלטר ]‪.([2‬‬
      ‫מאחר שאין לראות במעשיה או במחדליה של החברה בייצור מכשירי הטלוויזיה או‬                                ‫ד‬
      ‫בשיווקם משום מעשה או מחדל שנעשו בישראל )ראו לעניין זה רע"א ‪2752/03‬‬
      ‫‪ Metallurgique de Gerzat S.A.‬נ' וילנסקי ]‪ ,([3‬אין תקומה לתקנה ‪ .(7)500‬המקרה‬
      ‫שבפניי גם אינו בא בגדר הוראות תקנות ‪ (4)500‬או ‪ .(5)500‬משכך‪ ,‬בדין פסק בית‪-‬‬
      ‫משפט קמא כי לא היה מקום להתיר את המצאת כתב‪-‬התביעה אל מחוץ לגבולות‬
      ‫המדינה‪ .‬התוצאה היא אפוא שדין הבקשה להידחות‪ .‬הבקשה נדחית‪ .‬המבקש יישא‬                                  ‫ה‬
                                               ‫בהוצאות המשיבה בסכום של ‪ 10,000‬ש"ח‪.‬‬

                                               ‫ניתנה היום‪ ,‬כ"ו באב תשס"ג )‪.(24.8.2003‬‬

                                                                                                           ‫ו‬
                                                                                              ‫‪5129371‬‬




                                                                                                ‫‪54678313‬‬




                                                                                                           ‫ז‬




      ‫‪195‬‬                                     ‫פסקי‪-‬דין‪ ,‬כרך נח‪ ,‬חלק ראשון‪ ,‬תשס"ד‪/‬תשס"ה ‪2004‬‬
                ‫המאגר המשפטי הישראלי‬        ‫נבו הוצאה לאור בע"מ ‪nevo.co.il‬‬
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      ‫שיטרית נ' ‪Sharp Corporation‬‬                                             ‫רע"א ‪8195/02‬‬
      ‫השופט א' ריבלין‬                                                           ‫פ"ד נח)‪193 (1‬‬
                                                                                   ‫מיני‪-‬רציו‪:‬‬

‫א‬                               ‫* דיון אזרחי – המצאת כתבי‪-‬בי‪-‬דין – מחוץ לתחום השיפוט‬
      ‫לפי תקנה ‪ (7)500‬לתקנות סדר הדין האזרחי‪ ,‬תשמ"ד‪ – 1984-‬האם די בקרות הנזק‬
                                        ‫בישראל על‪-‬מנת שתקום עילה לפי תקנה זו‪.‬‬

 ‫ב‬
      ‫הודעה למנויים על עריכה ושינויים במסמכי פסיקה‪ ,‬חקיקה ועוד באתר נבו ‪ -‬הקש כאן‬




 ‫ג‬



 ‫ד‬



‫ה‬



 ‫ו‬



 ‫ז‬




      ‫פסקי‪-‬דין‪ ,‬כרך נח‪ ,‬חלק ראשון‪ ,‬תשס"ד‪/‬תשס"ה ‪2004‬‬                                        ‫‪196‬‬

                ‫המאגר המשפטי הישראלי‬        ‫נבו הוצאה לאור בע"מ ‪nevo.co.il‬‬
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                                                                                      ‫‪Shitrit.doc‬‬
